     Case 2:13-cr-00024-TOR     ECF No. 299   filed 05/01/14   PageID.2317 Page 1 of 1




 1                        UNITED STATES DISTRICT COURT
 2                      EASTERN DISTRICT OF WASHINGTON
 3 UNITED STATES OF AMERICA,                      No. CR-13-024-FVS-2
 4
                Plaintiff,                        ORDER GRANTING
 5                                                MOTION TO EXPEDITE AND
 6 vs.                                            MOTION TO MODIFY
 7
     LARRY LESTER HARVEY,                         ☒      Motion Granted
 8
                        Defendant.                       (ECF No. 288, 289)
 9
10          Before the Court is Defendant’s Motion to Modify. The Defendant wishes
11   to travel to Washington, D.C., from May 4-6, 2014. The United States takes no
12   position on the Motion; Defendant’s supervising Pretrial Services Officer does not
13   object to the travel. Accordingly,
14          IT IS ORDERED:
15          1.   For good cause shown, the Defendant’s Motion to Expedite, ECF No.
16   289, is GRANTED.
17          2.   The Defendant’s Motion to Modify, ECF No. 288, is GRANTED.
18          3.   Defendant may travel to Washington, D.C., on May 4, 2014,
19   returning to Spokane no later than May 6, 2014. Defendant shall advise his
20   supervising Pretrial Services of his contact information while he is in Washington,
21   D.C.
22          4.   Defendant shall abide by all conditions of release during his trip to
23   Washington D.C.
24          DATED May 1, 2014.
25
26                               _____________________________________
                                           JOHN T. RODGERS
27                                UNITED STATES MAGISTRATE JUDGE
28



     ORDER - 1
